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                    Ex. C
                Confidential
               File Under Seal
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                                UNITED STATES DISTRICT COURT

                             SOUTHERN DISTRICT OF CALIFORNIA

                                        SAN DIEGO DIVISION

    Ms. L, et al.,                                            CASE NO. 3:18-cv-428-DMS

                         Plaintiff,
                                                              EXHIBIT C
    v.
                                                              CONFIDENTIAL
    U.S. Immigration and Customs
    Enforcement, et al.,                                      TO BE FILED UNDER SEAL
                         Defendant.




                                               EXHIBIT C




                              Plaintiff’s First / Last Name         Pseudonym
                     1                                                 Alma
                     2                                                 Dora




  40965957.2
